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                                                                                                     EXHIBIT A
                                                                                       STANDARDIZED FUND ACCOUNTING REPORT

                                                                          Receivership in SEC v. Titanium Blockchain Infrastructure Services, Inc., et al.
                                                                                           Civil Court Docket No. 18-4315 DSF (JPRx)

                                                                                          Reporting Period - 5/30/2018 to 12/31/2018

Fund Accounting:
                                                                                                               Reporting Period                   Subtotal Prior Periods            Grand Total
Line 1       Beginning Balance (as of 3/31/2018)                                                       $                              -                                    $0.00                  $310,791.83
             Increases in Fund Balance:
Line 2       Business Income                                                                                                      $0.00                                    $0.00                        $0.00
Line 3       Cash and Securities                                                                                            $310,791.83                                    $0.00                        $0.00
Line 4       Interest/Dividends Income                                                                                            $0.00                                    $0.00                        $0.00
Line 5       Business Asset Liquidation                                                                                           $0.00                                    $0.00                        $0.00
Line 6       Personal Asset Liquidation                                                                                           $0.00                                    $0.00                        $0.00
Line 7       Third-Party Litigation Income                                                                                        $0.00                                    $0.00                        $0.00
Line 8        Miscellaneous - Other                                                                                               $0.00                                    $0.00                        $0.00
  Line 8a     Total Funds Available (Lines 1-8)                                                                             $310,791.83                                    $0.00                  $310,791.83
             Decreases in Fund Balance:
Line 9     Disbursements to Investors                                                                                             $0.00                                    $0.00                        $0.00
Line 10    Disbursements for Receivership Operations                                                                              $0.00                                    $0.00                        $0.00
  Line 10aDisbursements to Receiver or Other Professionals                                                                         $0.00                                    $0.00                       $0.00
  Line 10bBusiness Asset Expenses                                                                                            $195,225.13                                    $0.00                 $195,225.13
  Line 10cPersonal Asset Expenses                                                                                                  $0.00                                    $0.00                       $0.00
  Line 10dInvestment Expenses                                                                                                      $0.00                                    $0.00                       $0.00
  Line 10eThird-Party Litigation Expenses
          1. Attorneys Fees                                                                                                        $0.00                                   $0.00                       $0.00
          2. Litigation Expenses                                                                                                   $0.00                                   $0.00                       $0.00
          Total Third-Party Litigation Expenses                                                                                    $0.00                                   $0.00                       $0.00
 Line 10f Tax Administrator Fees and Bonds                                                                                         $0.00                                   $0.00                        $0.00
 Line 10g Federal and State Tax Payments                                                                                           $0.00                                   $0.00                        $0.00
          Total Disbursements for Receivership Operations                                                                    $195,225.13                                   $0.00                  $195,225.13

Line 11    Disbursements for Distribution Expenses Paid by the Fund:
  Line 11a Distribution Plan Development Expenses:
           1. Fees                                                                                                                  $0.00                                  $0.00                        $0.00
                  Fund Administration                                                                                               $0.00                                  $0.00                        $0.00
                  Independent Distribution Consultant (IDC)                                                                         $0.00                                  $0.00                        $0.00
                  Distribution Agent                                                                                                $0.00                                  $0.00                        $0.00
                  Consultants                                                                                                       $0.00                                  $0.00                        $0.00
                  Legal Advisers                                                                                                    $0.00                                  $0.00                        $0.00
                  Tax Advisers                                                                                                      $0.00                                  $0.00                        $0.00
           2. Administrative Expenses                                                                                               $0.00                                  $0.00                        $0.00
           3. Miscellaneous                                                                                                         $0.00                                  $0.00                        $0.00
           Total Plan Development Expenses                                                                                          $0.00                                  $0.00                        $0.00
  Line 11b Distribution Plan Implementation Expenses
           1. Fees                                                                                                                  $0.00                                  $0.00                        $0.00
                 Fund Administration                                                                                                $0.00                                  $0.00                        $0.00
                 Independent Distribution Consultant (IDC)                                                                          $0.00                                  $0.00                        $0.00
                 Distribution Agent                                                                                                 $0.00                                  $0.00                        $0.00
                  Consultants                                                                                                       $0.00                                  $0.00                        $0.00
                  Legal Advisers                                                                                                    $0.00                                  $0.00                        $0.00
                  Tax Advisers                                                                                                      $0.00                                  $0.00                        $0.00
           2. Administrative Expenses                                                                                               $0.00                                  $0.00                        $0.00
           3. Investor Identification                                                                                               $0.00                                  $0.00                        $0.00
                  Notice/Publishing Approved Plan                                                                                   $0.00                                  $0.00                        $0.00
                  Claimant Identification                                                                                           $0.00                                  $0.00                        $0.00
                  Claims Processing                                                                                                 $0.00                                  $0.00                        $0.00
           4. Fund Administrator Bond                                                                                               $0.00                                  $0.00                        $0.00
           5. Miscellaneous                                                                                                         $0.00                                  $0.00                        $0.00
           6. Federal Account for Investor Restitution                                                                              $0.00                                  $0.00                        $0.00
           (FAIR) Reporting Expenses                                                                                                $0.00                                  $0.00                        $0.00
           Total Plan Implementation Expenses                                                                                       $0.00                                  $0.00                        $0.00
           Total Disbursements for Distribution Expenses Paid by the Fund                                                           $0.00                                  $0.00                        $0.00
Line 12     Disbursements to Court/Other
  Line 12a    Investment Expenses/Court Registry Investment System (CRIS) Fees                                                     $0.00                                   $0.00                        $0.00
  Line 12b    Federal Tax Payments                                                                                                 $0.00                                   $0.00                        $0.00
           Total Disbursements to Court/Other:                                                                                     $0.00                                   $0.00                        $0.00
           Total Funds Disbursed (Line 9-11):                                                                                $195,225.13                                   $0.00                  $195,225.13
Line 13     Ending Balance (As of 12/18/2018):                                                                               $115,566.70                                   $0.00                        $0.00
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Line 14      Ending Balance of Fund - Net Assets:
  Line 14a    Cash & Cash Equivalents                                                                                                  $0.00                                     $0.00                                    $0.00
  Line 14b    Investments                                                                                                              $0.00                                     $0.00                                    $0.00
  Line 14c    Other Assets or Uncleared Funds (Frozen Accounts)                                                                   See Note 1                                     $0.00                               See Note 1
             Total Ending Balance of Fund - Net Assets                                                                                 $0.00                                     $0.00                                    $0.00


Other Supplemental Information:                                                                                             Reporting Period            Subtotal Prior Periods                        Grand Total
             Report of Items NOT To Be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by the Fund:
   Line 15a Plan Development Expenses Not Paid by the Fund:
            1. Fees                                                                                                                    $0.00                                     $0.00                                    $0.00
                Fund Administrator                                                                                                     $0.00                                     $0.00                                    $0.00
                IDC                                                                                                                    $0.00                                     $0.00                                    $0.00
                Distribution Agent                                                                                                     $0.00                                     $0.00                                    $0.00
                Consultants                                                                                                            $0.00                                     $0.00                                    $0.00
                Legal Advisers                                                                                                         $0.00                                     $0.00                                    $0.00
                Tax Advisers                                                                                                           $0.00                                     $0.00                                    $0.00
            2. Administrative Expenses                                                                                                 $0.00                                     $0.00                                    $0.00
            3. Miscellaneous                                                                                                           $0.00                                     $0.00                                    $0.00
            Total Plan Development Expenses Not Paid by the Fund                                                                       $0.00                                     $0.00                                    $0.00
 Line 15b Plan Implementation Expenses Not Paid by the Fund:
          1. Fees                                                                                                                      $0.00                                     $0.00                                    $0.00
               Fund Administrator                                                                                                      $0.00                                     $0.00                                    $0.00
               IDC                                                                                                                     $0.00                                     $0.00                                    $0.00
               Distribution Agent                                                                                                      $0.00                                     $0.00                                    $0.00
               Consultants                                                                                                             $0.00                                     $0.00                                    $0.00
               Legal Advisers                                                                                                          $0.00                                     $0.00                                    $0.00
               Tax Advisers                                                                                                            $0.00                                     $0.00                                    $0.00
          2. Administrative Expenses                                                                                                   $0.00                                     $0.00                                    $0.00
          3. Investor Identification:                                                                                                  $0.00                                     $0.00                                    $0.00
                Notice/Publishing Approved Plan                                                                                        $0.00                                     $0.00                                    $0.00
                Claimant Identification                                                                                                $0.00                                     $0.00                                    $0.00
                Claims Processing                                                                                                      $0.00                                     $0.00                                    $0.00
                Web Site Maintenance/Call Center                                                                                       $0.00                                     $0.00                                    $0.00
          4. Fund Administrator Bond                                                                                                   $0.00                                     $0.00                                    $0.00
          5. Miscellaneous                                                                                                             $0.00                                     $0.00                                    $0.00
          6. FAIR Reporting Expenses                                                                                                   $0.00                                     $0.00                                    $0.00
          Total Plan Implementation Expenses Not Paid by the Fund                                                                      $0.00                                     $0.00                                    $0.00
 Line 15c Tax Administrator Fees & Bonds Not Paid by the Fund                                                                          $0.00                                     $0.00                                    $0.00

             Total Disbursements for Plan Administration Expenses Not Paid by the Fund                                                 $0.00                                     $0.00                                    $0.00
Line 16    Disbursements to Court/Other Not Paid by the Fund                                                                           $0.00                                     $0.00                                    $0.00
  Line 16a Investment Expenses/CRIS Fees                                                                                               $0.00                                     $0.00                                    $0.00
  Line 16b Federal Tax Payments                                                                                                        $0.00                                     $0.00                                    $0.00
           Total Disbursements to Court/Other Not Paid by Fund:                                                                        $0.00                                     $0.00                                    $0.00
Line 17    DC & State Tax Payments                                                                                                     $0.00                                     $0.00                                    $0.00
Line 18    No. of Claims:
  Line 18a # of Claims Received This Reporting Period                                                                                    193                                        0                                       193
  Line 18b # of Claims Received Since Inception of Fund                                                                                  193                                        0                                       193
Line 19    No. of Claimants/Investors
  Line 19a # of Claimants/Investors Paid This Reporting Period                                                                              0                                       0                                         0
  Line 19b # of Claimants/Investors Paid Since Inception of Fund                                                                            0                                       0                                         0

Notes:

1)           The receivership holds the following non-cash business assets:                                    Amount of Units (if applicable) Unit Value (as of 12/31/2018)**           Agreggate Value (as of 12/31/2018)
             Bitcoin (BTC)                                                                                                             151.78 $                          3,819.74        $                           579,760.14
             Bitcoun Cash (BTH)                                                                                                 95.12103983 $                              159.89        $                            15,208.90
             Bitcoin SV                                                                                                         95.12103983 $                               87.45        $                             8,318.33
             Ether (ETH)                                                                                                        2156.288899 $                              136.82        $                           295,023.45
             Litecoin (LTC)                                                                                                     4972.997747 $                               31.34        $                           155,853.75
             Zcash (ZEC)                                                                                                               7.9046 $                             58.60        $                               463.21
             Dash (DASH)                                                                                                        66.59959886 $                               81.61        $                             5,435.19
             Electroneum (ETN)                                                                                                  21035513.98 $                          0.0074860         $                           157,471.86
             Computer equipment, televisions, phones                                                                                                                                     $5,000.00 (est)
                                                                                                                                                Total                                    $                         1,217,534.83
             *The total approximate value of the cryptocurrencies listed above, as of the date of this filing, is
             $1,217,534.83. There is significant market volatility in the prices of most of these
             cryptocurrencies.

             **sourced from https://coinmarketcap.com/
